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18-1524

                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                              Chapter 11 Proceeding
 Victor H. Maia
                                                     Case No. 18-16907 JKF
                                 Debtor(s)




                    ENTRY OF APPEARANCE/ REQUEST FOR NOTICES

TO THE COURT:

       Kindly enter my appearance on behalf of WELLS FARGO BANK, N.A. in the above
captioned matter.




                                             POWERS KIRN & ASSOCIATES, LLC

                                             By: /s/ Jill Manuel-Coughlin, Esquire
                                             Attorney ID# 63252
                                             Eight Neshaminy Interplex, Suite 215
                                             Trevose, PA 19053
                                             Telephone: 215-942-2090
